         Case 3:17-cr-00264-AWT Document 10 Filed 12/06/17 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

           -------------------                 X

UNITED STATES OF AMERICA

v.

JASON CHEN                                          December 6, 2017

                       -------------------------x
            FINDINGS AND RECOMMENDATION ON A PLEA OF GUllTV

       This matter was referred to the undersigned by Judge Alvin W. Thompson, and a

hearing was conducted, in open court and on the record, with the written consent of the

defendant, counsel for the defendant and counsel for the United States, regarding the

defendant's request to waive indictment and enter a plea of "Guilty" to Counts and One

and Two of an Information. Based upon the answers given by the defendant under oath

and in the presence of counsel; the remarks of defense counsel and counsel for the

government; and the written representations in the plea agreement; I find the following:

•      that the defendant is competent to plead;

•      that he understands the charges against him;

•      that he knows he has the right to be represented by counsel at trial and at every

other stage of the proceeding, and is satisfied with his current counsel;

•      that he understands his right to trial, including the right to confront and cross-

examine adverse witnesses, to be protected from compelled self-incrimination, to testify

and present evidence, and to compel the attendance of witnesses;

•     that he knows the maximum possible terms of imprisonment and supervised

release terms, and the maximum potential fine that could be imposed;
         Case 3:17-cr-00264-AWT Document 10 Filed 12/06/17 Page 2 of 2




•      that he knows the mandatory minimum term of supervised release that applies to

Count One;

•      that he knows that the Court is obligated to consider the advisory sentencing

guidelines range, possible departures under the sentencing guidelines, and other

sentencing factors under applicable sentencing law, and that any factual disputes at

sentencing will be resolved by the Judge by a preponderance of the evidence;

•      that he understands the immigration consequences and the other collateral

consequences of a felony conviction;

•      that he understands the forfeiture agreement into which he has entered;

•      that he knows he will not be permitted to withdraw his plea of guilty if the

sentence imposed is other than he anticipates;

•      that he understands his right to appeal, and that his limited waiver of that right is

made knowingly and of his own free will;

•      that there is a factual basis for the defendant's plea, including the information set

forth in the stipulation of offense conduct; and

•      that the defendant's waivers of rights and pleas of guilty have been knowingly

and voluntarily made and not coerced.

       Accordingly, I hereby RECOMMEND that the defendant's plea of guilty be

accepted.




                                            /s/ Sarah A. L. Merriam, USMJ
                                            ara A. L. Merriam
                                             1 ed States Magistrate Judge
